    Case 3:21-cv-03057-G-BN Document 1 Filed 12/08/21                              Page 1 of 6 PageID 1



                               IN THE UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

LORITA DAVIS                    §
                                §
VS.                             §                                       3:21-cv-3057
                                                               C.A. NO. _______________
                                §
SELECT PORTFOLIO SERVICING, INC §


                                 DEFENDANT’S NOTICE OF REMOVAL

           Defendant, Select Portfolio Servicing, Inc. (“Defendant” or “SPS”) through undersigned

counsel, hereby removes this case from the County Court at Law No. 1 of Dallas County, Texas,

to the United States District Court for the Northern District of Texas, Dallas Division.

Defendant denies the allegations of the Complaint and the damages contained therein, and files

this Notice without waiving any defenses, exceptions, or obligations that may exist in its favor in

state or federal court.

    I.          INTRODUCTION AND STATEMENT OF COMMENCEMENT OF ACTION

           1.          On or about November 30, 2021, Plaintiff Lorita Davis (“Plaintiff”) commenced

this action by filing a Petition, Cause No. CC-21-05187, in the County Court at Law No. 1 of

Dallas County, Texas (the “State Court Action”). See Exhibit C-1. On December 3, 2021

Plaintiff obtained an ex parte temporary restraining order. See Exhibit C-3. Defendant filed an

answer in the State Court Action on December 8, 2021. See Exhibit C-4. This action is being

removed less than 30 days following service of the Petition filed in the State Court Action and

less than 30 days after Defendant appeared in the State Court Action. Accordingly, removal is

timely under 28 U.S.C. §1446(b). 1




1
     Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 347-48 (1999).


999999.190/4234894.1
    Case 3:21-cv-03057-G-BN Document 1 Filed 12/08/21                        Page 2 of 6 PageID 2



                          II.    PLEADINGS AND NOTICE TO STATE COURT

           2.          True and correct copies of all process and pleadings in the State Court Action are

being filed along with this Notice of Removal. Pursuant to 28 U.S.C. §1446(d), written notice of

this removal is being served on Plaintiff and filed in the State Court Action.

    III.        STATEMENT OF STATUTORY BASIS FOR JURISDICTION AND VENUE

           3.          This action is within the original jurisdiction of the United States District Court

pursuant to 28 U.S.C. §1332(a)(1). That statute provides, in pertinent part, that “the district

courts shall have the original jurisdiction of all civil actions where the matter in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs, and is between citizens of

different States.” 2 Venue is proper in this district under 28 U.S.C. §1441(a) because the state

court where the State Court Action has been pending is located in this district. As discussed in

detail below, this action satisfies the statutory requirements for diversity of citizenship

jurisdiction as well as Federal Question jurisdiction.

                                    IV.     DIVERSITY JURISDICTION

           A.          Citizenship of the Parties

           4.          This civil action involves a controversy between citizens of different states.

Plaintiff is a citizen of the State of Texas in that she resides in and is domiciled in Texas. 3

           5.          Defendant, Select Portfolio Servicing, Inc. is a Utah Corporation. A corporation

is deemed to be a citizen of (1) every state where it has been incorporated and (2) the state where

it has its principal place of business (i.e. its “nerve center”). 4 SPS is a Utah corporation with its

principal place of business in Salt Lake City, Utah. SPS is not incorporated in Texas, nor is its



2
     28 U.S.C. §1332(a)(1).
3
     See Plaintiff’s Original Petition (the “Complaint”) at ¶2.
4
     28 U.S.C. §1332(c)(1).

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999999.190/4234894.1
     Case 3:21-cv-03057-G-BN Document 1 Filed 12/08/21                            Page 3 of 6 PageID 3



principal place of business located in Texas. Therefore, SPS is a citizen of Utah for purposes of

diversity jurisdiction.

           6.          Because Plaintiff is a citizen of Texas and SPS is a citizen of a state other than

Texas, there is complete diversity of citizenship among the parties. 5

           B.          Amount in Controversy

           7.          This case places an amount in controversy that exceeds the $75,000 threshold. A

party may remove an action from state court to federal court if the action is one over which the

federal court possesses subject matter jurisdiction. 6 Such jurisdiction exists as long as the parties

are completely diverse and the amount in controversy exceeds $75,000.00. 7

           8.          When ascertaining the amount in controversy in the context of a motion to

remand, district courts query whether a plaintiff's state court petition, as it existed at the time of

removal, alleged damages in excess of the statutory minimum.8 If the petition does not allege a

specific amount of damages, the removing party must prove by a preponderance of the evidence

that the amount in controversy requirement is satisfied. 9 The removing party satisfies this

burden if the court finds it “facially apparent” that the plaintiff's claimed damages likely exceed

$75,000.00. 10 In this instance, Plaintiff’s Complaint makes it facially apparent that Plaintiff’s

claimed damages exceed $75,000.00 given that Plaintiff seeks temporary and permanent

injunctive relief that would preclude Defendant from conducting a foreclosure sale on the

collateral securing the subject loan and the value of the property exceeds $75,000.00.


5
     See 28 U.S.C. § 1332(c)(1).
6
     See 28 U.S.C. §1441(a).
7
     See 28 U.S.C. §1332(a).
8
     See S.W.S. Erectors, Inc. v. Infax, Inc., 72 F.3d 489, 492 (5th Cir.1996).
9
     See Lewis v. State Farm Lloyds, 205 F. Supp. 2d 706, 708 (S.D. Tex. 2002) citing De Aguilar v. Boeing Co., 11
     F.3d 55, 58 (5th Cir. 1993); see also Manguno v. Prudential Prop. and Cas. Ins. Co., 276 F.3d 720, 723 (5th
     Cir. 2002) (explaining that the removing party bears the burden of showing that federal jurisdiction exists and
     that removal is proper).
10
     Allen v. R & H Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir.1995).

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999999.190/4234894.1
     Case 3:21-cv-03057-G-BN Document 1 Filed 12/08/21                                Page 4 of 6 PageID 4



           9.          In addition to unspecified actual and exemplary damages, the filing of the present

suit seeks to stop a foreclosure attempt by Defendant on property located at 1735 West Beltline

Road, Desoto, Texas 75115 (the “Property”). 11 The value of the Property according to the Dallas

County Appraisal District is no less than $515,530.00. See Exhibit D.

           10.         As Plaintiff references in her Complaint, she seeks temporary and permanent

injunctive relief precluding Trustee from foreclosing on the Property. 12

           11.         Federal jurisdiction can be established by facts alleged in the petition for removal

that support a conclusion that the amount in controversy requirement is satisfied. 13 “In actions

seeking declaratory or injunctive relief, it is well established that the amount in controversy is

measured by the value of the object of the litigation.” 14 Plaintiff seeks relief which has and will

continue to preclude enforcement of the contractual loan obligations or Defendant’s right to

foreclose on and take possession of the subject property.

           12.         “[W]hen the validity of a contract or a right to property is called into question in

its entirety, the value of the property controls the amount in controversy.” 15 “[T]he amount in

controversy, in an action for declaratory or injunctive relief, is the value of the right to be protected

or the extent of the injury to be prevented.”16 Also, where a party seeks to quiet title or undo a

foreclosure, the object of the litigation is the property at issue and the amount in controversy is

measured by the value of the property.17 The value of the subject property in this instance for

diversity purposes is no less than $515,530.00 per the records of the Dallas County Appraisal



11
     See Plaintiff’s Complaint at ¶ 6.
12
     See Complaint at ¶¶ 87-92 and Prayer.
13
     Menendez v. Wal-Mart Stores, Inc., 364 Fed. Appx. 62, 66, 2010 WL 445470, 2 (5th Cir. 2010) (unpublished)
     (citing Garcia v. Koch Oil Co. of Texas, Inc., 351 F.3d 636, 638-39 (5th Cir. 2003)).
14
     Hunt v. Wash. State Apple Adver. Comm’n, 432 U.S. 333, 347, 97 S. Ct. 2434, 53 L. Ed. 2d 383 (1977).
15
     Waller v. Prof’l Ins. Corp., 296 F.2d 545, 547-48 (5th Cir. 1961).
16
     Webb v. Investacorp, Inc., 89 F.3d 252 (5th Cir. 1996), citing Leininger v. Leininger, 705 F. 2d 727 (5th Cir. 1983).
17
     See Berry v. Chase Home Fin., LLC, 2009 WL 2868224, at *2 (S.D. Tex. August 27, 2009).

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999999.190/4234894.1
     Case 3:21-cv-03057-G-BN Document 1 Filed 12/08/21                      Page 5 of 6 PageID 5



District for 2021.          See Exhibit D.    The value of the Property in this instance satisfies the

jurisdictional amount of $75,000.00 for diversity purposes.

                              V.      FEDERAL QUESTION JURISDICTION

           13.         Removal is also proper because Plaintiff’s suit involves a federal question. 18 A

case arises under 28 U.S.C. §1331 if “a well-pleaded complaint establishes either that federal law

creates the cause of action or that the plaintiff’s right to relief necessarily depends on resolution

of a substantial question of federal law.” 19 Further, the Fifth Circuit Court of Appeals has held

that “[t]he assertion of a claim under a federal statute alone is sufficient to empower the District

Court to assume jurisdiction over the case and determine whether, in fact, the Act does provide

the claimed rights.” 20

           14.         Among other claims, Plaintiff has alleged violations of the Real Estate Settlement

Procedures Act (“RESPSA”) as codified at 12 USC § 2601-2617 and 12 C.F.R. § 1024

(Regulation X). 21 Since Plaintiff’s claims arise under the laws of the United States of America,

the United States District Court has original jurisdiction and removal is appropriate.

           15.         This Court should also exercise supplemental jurisdiction over all claims because

they are so related to the federal claims that they form part of the same case or controversy. 22 As

noted by the Supreme Court, “Section 1367(a) is a broad grant of supplement jurisdiction over

other claims within the same case or controversy, as long as the action is one in which the district

courts would have had original jurisdiction.” 23 Accordingly, this Court also has jurisdiction

based on Federal Question jurisdiction.


18
     28 U.S.C. §§1331, 1441(b); Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 312
     (2005).
19
     See Empire Healthchoice Assurance, Inc., v. McVeigh, 547 U.S. 677, 689-90 (2006).
20
     Holland/Blue Streak v. Barthelemy, 849 F.2d 987, 988 (5th Circ. 1988).
21
     See Complaint at ¶¶ 42-64.
22
     See 28 U.S.C. § 1367(a).
23
     Exxon Mobil Corp. v. Allpattah Servs., Inc., 545, 558 (2005).

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999999.190/4234894.1
    Case 3:21-cv-03057-G-BN Document 1 Filed 12/08/21                         Page 6 of 6 PageID 6



                                           VI.    JURY DEMAND

           16.         Plaintiff has not made any known jury demand in the State Court Action.

                                           VII.    CONCLUSION

           17.         For the foregoing reasons, Defendant asks the Court to remove this suit to the

United States District Court for the Northern District of Texas, Dallas Division.

                                                    Respectfully submitted,

                                                    By: /s/ Michael F. Hord Jr.
                                                       Michael F. Hord Jr.
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                                                    ATTORNEYS FOR DEFENDANT

                                       CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of December, 2021, a true and correct copy of the
foregoing Notice of Removal was forwarded as follows:

                                            Kerry L. Prisock
                                          1371 Hayward Drive
                                         Rockwall, Texas 75087
                                   Email: kprisocklegal@sbcglobal.net
                           Via Email and CM RRR 9414 7266 9904 2180 5951 42
                                              and US Mail

                                                    /s/ Michael F. Hord Jr.
                                                    Michael F. Hord Jr.




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999999.190/4234894.1
